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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-62026-RAR

  JUSTIN OUIMET,

         Plaintiff,

  v.

  ACCOUNT RESOLUTION SERVICES, LLC, et al.,

        Defendant.
  _____________________________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon the parties’ Joint Notice and Certificate of

  Compliance (“Joint Notice”) [ECF No. 21]. As represented in the Joint Notice and indicated by

  counsel during the status conference held on November 30, 2020 [ECF No. 22], the parties have

  reached an agreement in principle and are finalizing settlement documents. Accordingly, the Court

  having carefully reviewed the file, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within thirty (30) days from the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the Court

  to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida this 30th day of November, 2020.


                                                            _________________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE
